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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: XARELTO (RIVAROXABAN)
PRODUCTS LIABILITY LITIGATION                                                           MDL No. 2592



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −172)



On December 12, 2014, the Panel transferred 20 civil action(s) to the United States District Court
for the Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 65 F.Supp.3d 1402 (J.P.M.L. 2014). Since that time, 638 additional action(s)
have been transferred to the Eastern District of Louisiana. With the consent of that court, all such
actions have been assigned to the Honorable Eldon E. Fallon.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Eastern District of Louisiana and assigned to
Judge Fallon.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Eastern District of Louisiana for the reasons stated in the order of December 12, 2014, and, with the
consent of that court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



    Dec 27, 2017                                       FOR THE PANEL:



                                                       Jeffery N. Lüthi
                                                       Clerk of the Panel


                     Dec 29 2017
               Case Case
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             IN RE: XARELTO (RIVAROXABAN)
             PRODUCTS LIABILITY LITIGATION                                             MDL No. 2592



                                SCHEDULE CTO−172 − TAG−ALONG ACTIONS



               DIST      DIV.      C.A.NO.       CASE CAPTION


             NEW YORK SOUTHERN

17-cv-17907 L(5) NYS      1        17−09775      Fye et al v. Janssen Research & Development LLC et al
17-cv-17908 L(5) NYS                             Martinez et al v. Janssen Research & Development LLC
                          1        17−09784      et al
17-cv-17909 L(5) NYS                             Montanez v. Janssen Research & Development LLC et
                          1        17−09797      al
17-cv-17909 L(5) NYS      1        17−09803      Silvestri v. Janssen Research & Development LLC et al
